Case 1:18-CV-10881-ADB Document 13 Filed 08/20/18 Page 1 of 4

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CIVIL ACTION No. lS-cv~lOSSl

BASF CORPORATION, )
Plaintiff, )

)

v. )
)

l\/IARTINEAUS AUTO BODY, INC, )
d/b/a and or a/k/a METROPOLITAN )
AUTO BODY, )
Defendant. )

DEFENDANT’S PRE-ANSWER MOTION TO DISMISS AMENDED COMPLAINT
PURSUANT TO FED. R. CIV. P. 12(B)(6)

NOW COMES the Defendant, Martineaus Auto Body, lnc. and requests that the Court
dismiss the Plaintiff s complaint against the Defendant in its entirety, for failure to state a claim
upon Which relief may be granted

Standard for Motion to Dismiss

“To survive a motion to dismiss, a complaint must contain sufficient factual matter,
accepted as true, to ‘state a claim to relief that is plausible on its face.”’ Whitman & Co., Inc. v.
Longview Parme)'s (Guernsey) Limited, 2015 WL 4467064 at *6 (D. Mass. July 20, 2015)
(quoting Aschroft v. Iqbal, 556 U.S. 662, 678 (20()9); Bell Atl. Corp. v. Twombly, 550 U.S. 544,
555 (2007).). “A claim has facial plausibility When the plaintiff pleads factual content that
allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ia’. This standard “asks for more than a sheer possibility that a defendant has acted

Case 1:18-CV-10881-ADB Document 13 Filed 08/20/18 Page 2 of 4

unlawfully.” Id. “[A] complaint does not state a claim for relief Where the Well-pleaded facts
fail to Warrant an inference of any more than the mere possibility of misconduct.” Id. (cz'ting
Iqbal, 556 U.S. at 679). When considering Whether the plaintiff has plead a plausible claim, “a
court must take the allegations in the complaint as true and must make all reasonable inferences
in favor of the plaintiffs.” Watterson v. Page, 987 F.Zd. l, 3 (lst Cir. 1993). This does not
mean, however, “that a court must (or should) accept every allegation made by the complainant,
no matter how conclusory or generalized.” Um`ted Smtes v. AVX Corp., 962 F.Zd 108, 115 (lst
Cir. 1992).

A motion to dismiss should be granted if “it appears beyond doubt that the plaintiff can
prove no set of facts in support of his claim Which Would entitle him to relief.” Conley v.
Gz`bson, 355 U.S. 41, 45-46, (1957).

The Complaint must set forth the grounds of the Plaintifi`s entitlement to relief With more
than mere “labels and conclusions.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007),
further, under-the Twombly and Iqbal approaches, a complaint must contain “factual ‘allegations
plausibly suggesting (not merely consistent With)’ an entitlement to relief.” The factual
allegations in the Complaint do not need to be detailed; however, they “must be enough to raise
to relief above a speculative level [based] on the assumption that all the allegations in the
complaint are true ....” Twombly, 550 U.S. at 557. “When allegations, though disguised as
factual, are so threadbare that they omit any meaningful content, We Will treat them as What they
are: naked conclusions.” A.G. ex rel. Maddox v. Elsevier, lnc., 732 F.3rd 77, at 80-81 (lSt Cir.
2013), citing Ashcroft v. Iqbal, 129 S.Ct. 1937 at 1949 (2009).

ln considering a motion to dismiss, the Court is generally “limited to considering facts

and documents that are part or incorporated into the complaint.” Giragosicm v. Ryan, 547 F.3rd

Case 1:18-CV-10881-ADB Document 13 Filed 08/20/18 Page 3 of 4

59, 65 (lSt Cir. 2008) (citation and internal quotation marks omittedO. However, these limitations
are not absolute Id.; see also Calden v. Arnold Worldwz'de, Civil Action No. 12-10874-FDS (1St
Cir. 2012). When a complaint’s factual allegations are dependent upon a document, “that
document effectively merrges into the pleadings and the trial court can review it in deciding a
motion to dismiss under Rule l2(b)(6).” Id.; see also Beddall v. Stale SI. Bank & Trust Co., 1237
Fd3rd 12, 17 (1St Cir, 1996); and also McGee v. Benjamz`n, 2012 WL 959377, at *4 (D. Mass,
March 20, 2012). The Court may also consider “documents incorporated by reference in [the
complaint], matters of public record, and other matters susceptible to judicial notice.”
Gz`ragosian 547 F.3rd at 65 (quoting Un re Colonz`al Mortgage Bankers Corp,, 324 F.3rd 12, 20
(1St Cir. 2003).

If the Court were to reach the merits of this case, all causes of action must be dismissed

pursuant to Federal Rule 12(b)(6).

CONCLUSION
The Complaint cannot survive because there is not one set of facts in support of
PlaintifFS bald claims. No factual “allegations plausibly suggesting (not merely consistent with)
an entitlement to relief.” There are no meaningful factual contents, just naked conclusions
The Complaint contains nothing more than speculative allegations, though disguised as
factual, that are so threadbare that they omit any meaningful content, exhibits, substantiations,
which should be treated as what it is: naked conclusions subject to a Motion to Dismiss.

As a result of the foregoing, the Plaintiff` s Complaint should be dismissed with prejudice,

Case 1:18-CV-10881-ADB Document 13 Filed 08/20/18 Page 4 of 4

ln support of this Motion is Defendant’s Memorandum of Law and the Affidavit of Paul
Martineau to be filed herewith.
A HEARING IS REQUESTED lF THE COURT SO DECIDES
WHEREFORE, the Defendants ask that the Court enter an order dismissing the

Complaint and to pay costs for its defense.

Respectfiilly Submitted,
Martineaus Auto Body, lnc.
By its Attomey,

Date: August 20, 2018 /s/ Peter J. Caruso
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CERTIFICATE OF SERVI`CE

 

1 hereby certify that this document filed through the ECF system will be sent electronically to
the registered participants as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent to those indicated as non-registered participants on August 201 2018.

/s/ Peter J. Caruso

